        Case 1:18-cv-04993-NRB Document 199 Filed 03/06/20 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



IN RE AEGEAN MARINE PETROLEUM                      Case No. 18-cv-4993 (NRB)
NETWORK, INC. SECURITIES LITIGATION
                                                   Hon. Naomi Reice Buchwald
                                                   NOTICE OF MOTION
                                                   ORAL ARGUMENT
                                                   REQUESTED




       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support

of Defendant Dimitris Melissanidis’s Motion to Dismiss, dated March 6, 2020, Mr. Melissanidis

moves this Court for an Order dismissing Lead Plaintiff Utah Retirement Systems’ Consolidated

Class Action Complaint with prejudice pursuant to Rule 12(b)(2) and Rule 12(b)(6) of the

Federal Rules of Civil Procedure.



Dated: New York, New York
       March 6, 2020
                                           BOIES SCHILLER FLEXNER LLP

                                           /s/ Jonathan D. Schiller

                                           Jonathan D. Schiller
                                           Matthew L. Schwartz
                                           Sara K. Winik
                                           55 Hudson Yards
                                           New York, New York 10001
                                           Telephone:    (212) 446-2300
                                           Fax:          (212) 446-2350
                                           E-mail:       jschiller@bsfllp.com
                                                         mlschwartz@bsfllp.com
                                                         swinik@bsfllp.com

                                           Counsel for Dimitris Melissanidis
